Case 2:20-cv-06864-ODW-AS Document 166 Filed 07/19/22 Page 1 of 2 Page ID #:9957




  1                                                                                        O
                                                                                         JS-6
  2
  3
  4
  5
  6
  7
  8                       United States District Court
  9                       Central District of California
 10
 11   VIZIO, INC.,                                 Case No. 2:20-cv-06864-ODW (ASx)
 12                      Plaintiff,                FINAL JUDGMENT
 13         v.
 14   ARCH INSURANCE COMPANY, et al.,
 15                      Defendants.
 16
 17         On July 30, 2020, Plaintiff Vizio, Inc. brought this action against Defendants
 18   Arch Insurance Company and Navigators Insurance Company based on its claim that
 19   Defendants failed to provide benefits pursuant to the terms of Vizio’s primary and
 20   excess insurance policies. (See First Am. Compl., ECF No. 27.) On January 19,
 21   2022, Vizio filed its Fourth Amended Complaint, which constituted Vizio’s fifth
 22   attempt at stating a claim. (Fourth Am. Compl., ECF No. 139.) On February 2, 2022,
 23   Arch moved for the fifth time to dismiss Vizio’s complaint for failure to state a claim.
 24   (Mot. Dismiss, ECF No. 140.) On July 19, 2022, the Court granted Arch’s motion,
 25   finding that Vizio cannot state a claim upon which relief may be granted. (See Order
 26   Granting Mot. Dismiss, ECF No. 165.) As this action has been pending for nearly two
 27   years and—despite numerous attempts—Vizio has not yet stated a viable claim, the
 28
Case 2:20-cv-06864-ODW-AS Document 166 Filed 07/19/22 Page 2 of 2 Page ID #:9958




  1   Court dismissed Vizio’s Fourth Amended Complaint with prejudice and without leave
  2   to amend. (Id.)
  3         Accordingly, the Court ORDERS, ADJUDGES, and DECREES as follows:
  4                1. The Court finds that Defendant Arch Insurance Company has not
  5                     failed to provide insurance benefits in breach of contractual
  6                     obligations as Vizio alleged; and
  7                2. Judgment is entered for Defendant Arch Insurance Company.
  8         The Court VACATES all dates and deadlines. The Clerk of the Court shall
  9   close the case.
 10         IT IS SO ORDERED.
 11
 12         July 19, 2022
 13
 14                                 ____________________________________
 15                                          OTIS D. WRIGHT, II
                                     UNITED STATES DISTRICT JUDGE
 16
 17
 18
 19
 20
 21
 22
 23
 24
 25
 26
 27
 28




                                                   2
